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In re: Wardman Hotel Owner, LLC                                                                                 Case No. 21-10023 (JTD)
                     Debtor                                                                                     Reporting Period: Oct 1, 2021 to Oct 28, 2021
                                          SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                         BANK ACCOUNTS                             CURRENT MONTH                      CUMULATIVE FILING TO DATE
                                            OPER.         PAYROLL     TAX       OTHER           ACTUAL              PROJECTED               ACTUAL              PROJECTED

CASH BEGINNING OF MONTH                   1,877,887.34


RECEIPTS
CASH SALES                                                                                                -                                            -
ACCOUNTS RECEIVABLE                                                                                       -                                            -
LOANS AND ADVANCES                                                                                        -                                10,000,000.00
SALE OF ASSETS                            4,691,579.69                                           4,691,579.69                                4,691,579.69
OTHER (ATTACH LIST) - Antenna and Tax
refund                                        6,412.26                                               6,412.26                                1,372,250.38
TRANSFERS (FROM DIP ACCTS)                                                                                -                                            -
Cash from owner safe                                -                                                     -                                     92,187.01
  TOTAL RECEIPTS                          4,697,991.95                                           4,697,991.95                              16,156,017.08


DISBURSEMENTS
NET PAYROLL                                                                                               -                                            -
PAYROLL TAXES                                                                                             -                                            -
SALES, USE, & OTHER TAXES (RE)                                                                            -                                  2,683,823.46
INVENTORY PURCHASES                                                                                       -                                            -
SECURED/ RENTAL/ LEASES                                                                                   -                                            -
INSURANCE                                                                                                 -                                    281,529.20
ADMINISTRATIVE                                                                                            -                                      1,656.30
SELLING                                                                                                   -                                            -
OTHER (ATTACH LIST)                        772,240.78                                             772,240.78                                 4,395,243.37
                                                                                                          -                                            -
OWNER DRAW *                                                                                              -                                            -
TRANSFERS (TO DIP ACCTS)                                                                                  -                                    107,405.00
                                                                                                          -                                            -
PROFESSIONAL FEES                                                                                         -                                            -
U.S. TRUSTEE QUARTERLY FEES                                                                               -                                            -
COURT COSTS                                                                                               -                                            -
TOTAL DISBURSEMENTS                        772,240.78                                             772,240.78                                 7,469,657.33


NET CASH FLOW                             3,925,751.17                                           3,925,751.17                                8,686,359.75
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH                       5,803,638.51                                           3,925,751.17                                8,686,359.75
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                            THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                                                  772,240.78
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                                             0
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                                               0
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                                      772,240.78




                                                                                                                                                                      FORM MOR-1
                                                                                                                                                                           (04/07)
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In re: Wardman Hotel Owner, LLC                                               Case No. 21-10023 (JTD)
                      Debtor                                                  Reporting Period: Oct 10/1/21
                                                                                                    1, 2021 totoOct
                                                                                                                10/28/21
                                                                                                                    28, 2021
                                                   OTHER ATTACH LIST


DISBURSEMENTS -OTHER
Building Repair                                                         -
Landscaping Services                   2,400.00                    2,400.00
Facility Management Contract         398,723.95                  398,723.95
IT Services/Phone                                                       -
Chapman & Cutler - Legal              96,291.82                   96,291.82
James D. Decker - Director            30,000.00                   30,000.00
Baker Hostetler - Legal                                                 -
Utilities                            206,367.32
Ryan Tax                                                                -
US Trustee Fee                        12,944.16                   12,944.16
FF&E Consultant                                                         -
Fire Alarm                             7,890.87                    7,890.87

Trash removal                          4,515.60                    4,515.60
Claims Agent                           1,000.00                    1,000.00
Pryor Cashman                         12,107.06                   12,107.06
TOTAL DISBURSEMENTS                  772,240.78                  772,240.78                                  772,240.78




                                                                                                                               FORM MOR-1
                                                                                                                                    (04/07)
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In re: Wardman Hotel Owner, LLC                                                     Case No. 21-10023 (JTD)
                     Debtor                                                         Reporting Period: Oct 1, 2021 to Oct 28, 2021

                                               STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                      Cumulative
REVENUES                                                                            Month                            Filing to Date
Gross Revenues                                                                                  4,697,991.95              16,156,017.08
Less: Returns and Allowances
Net Revenue                                                                                    $4,697,991.95              16,156,017.08
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold
Gross Profit                                                                                   $4,697,991.95             $16,156,017.08
OPERATING EXPENSES
Advertising                                                                                                                       $0.00
Auto and Truck Expense                                                                                                            $0.00
Bad Debts                                                                                                                         $0.00
Contributions                                                                                                                     $0.00
Employee Benefits Programs                                                                                                        $0.00
Insider Compensation*                                                                                                             $0.00
Insurance                                                                                                                   $281,529.20
Management Fees/Bonuses                                                                            30,000.00                 275,971.15
Office Expense                                                                                                                63,648.47
Pension & Profit-Sharing Plans                                                                                                    $0.00
Repairs and Maintenance                                                                           427,474.02               2,404,411.36
Rent and Lease Expense                                                                                                            $0.00
Salaries/Commissions/Fees                                                                                                        $90.00
Supplies                                                                                                                          $0.00
Taxes - Payroll                                                                                                                   $0.00
Taxes - Real Estate                                                                                                        2,683,823.46
Taxes - Other                                                                                                                     $0.00
Travel and Entertainment                                                                                                      $9,108.39
Utilities                                                                                         206,367.32               1,166,244.87
Other Legal Expenses                                                                              108,398.88                 720,785.63
Total Operating Expenses Before Depreciation                                                     $772,240.22              $7,605,612.53
Depreciation/Depletion/Amortization                                                                                               $0.00
Net Profit (Loss) Before Other Income & Expenses                                               $3,925,751.73              $8,550,404.55
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                                                    $0.00
Interest Expense                                                                                                                  $0.00
Other Expense (attach schedule)                                                                                                   $0.00
Net Profit (Loss) Before Reorganization Items                                                  $3,925,751.73              $8,550,404.55
REORGANIZATION ITEMS
Professional Fees                                                                                                                 $0.00
U. S. Trustee Quarterly Fees                                                                      $22,913.23                 $44,887.23
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)                                                      $0.00
Gain (Loss) from Sale of Equipment                                                                                                $0.00
Other Reorganization Expenses (attach schedule)                                                                                   $0.00
Total Reorganization Expenses                                                                                                     $0.00
Income Taxes                                                                                                                      $0.00
Net Profit (Loss)                                                                              $3,925,751.73              $8,550,404.55

*"Insider" is defined in 11 U.S.C. Section 101(31).



                                                                                                                                          FORM MOR-2
                                                                                                                                               (04/07)
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In re: Wardman Hotel Owner, LLC                                                                                                                        Case No. 21-10023 (JTD)
                                           Debtor                                                                                                      Reporting Period: Oct 1, 2021 to Oct 28, 2021

                                                                                      BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                          BOOK VALUE AT END OF                                 BOOK VALUE ON
                                         ASSETS                                                      CURRENT REPORTING MONTH                                   PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                                     5,803,638.51                                         $158,694.35
Restricted Cash and Cash Equivalents (see continuation sheet)                                                                                $0.00                                        $4,749,402.00
Accounts Receivable (Net)                                                                                                             $144,556.21                                          $144,556.21
Notes Receivable                                                                                                                             $0.00                                         $284,756.00
Inventories
Prepaid Expenses                                                                                                                        $89,700.98                                         $261,869.00
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                                $6,037,895.70                                        $5,599,277.56
PROPERTY AND EQUIPMENT
Real Property and Improvements                                                                                                               $0.00                                     $169,537,655.00
Machinery and Equipment
Furniture, Fixtures and Office Equipment                                                                                           $11,932,707.00                                       $11,932,707.00
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                                         $11,932,707.00                                      $181,470,362.00
OTHER ASSETS
Loans to Insiders*
Other Assets (attach schedule)
TOTAL OTHER ASSETS                                                                                                                           $0.00                                                $0.00


TOTAL ASSETS                                                                                                                       $17,970,602.70                                      $187,069,639.56


                                                                                                  BOOK VALUE AT END OF                                         BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Notes Payable
Rent / Leases - Building/Equipment
Secured Debt / Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES                                                                                                               $0.00                                                $0.00
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                                      $134,756,820.00                                      $130,537,383.00
Priority Debt
Unsecured Debt
TOTAL PRE-PETITION LIABILITIES                                                                                                    $134,756,820.00                                      $130,537,383.00


TOTAL LIABILITIES                                                                                                                 $134,756,820.00                                      $130,537,383.00
OWNER EQUITY
Capital Stock
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account                                                                                                           ($116,786,217.30)                                      $56,532,256.56
Retained Earnings - Pre-Petition
Retained Earnings - Postpetition
Adjustments to Owner Equity (attach schedule)
Postpetition Contributions (Distributions) (Draws) (attach schedule)
NET OWNER EQUITY                                                                              $                                                        $
                                                                                                                                                                                       $187,069,639.56
TOTAL LIABILITIES AND OWNERS' EQUITY                                                          $                                                        $

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                               FORM MOR-3
                                                                                                                                                                                                    (04/07)
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In re: Wardman Hotel Owner, LLC                                                                             Case No. 21-10023 (JTD)
                   Debtor                                                                                   Reporting Period: Oct 1, 2021 to Oct 28, 2021

                                                         STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                        Beginning         Amount                                                                      Ending
                                                           Tax           Withheld or          Amount              Date            Check No.             Tax
                                                        Liability         Accrued              Paid               Paid             or EFT             Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income
Other:_________________
  Total Federal Taxes                                           $0.00                                                                                         $0.00
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes                                                     $0.00                                                                                         $0.00


                                                 SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                             Number of Days Past Due
                                                    Current             0-30              31-60         61-90                  Over 90        Total
Accounts Payable
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments                       $0.00                                                                                         $0.00
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                        $0.00                                                                                         $0.00




                                                                                                                                                           FORM MOR-4
                                                                                                                                                                (04/07)
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In re: Wardman Hotel Owner, LLC
                Debtor



                          ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                     Amount
Total Accounts Receivable at the beginning of the reporting period                                  $429,312.21
+ Amounts billed during the period                                                                             0
- Amounts collected during the period                                                                   -284756
Total Accounts Receivable at the end of the reporting period                                        $144,556.21

Accounts Receivable Aging                                                                              Amount
0 - 30 days old                                                                                             0
31 - 60 days old
61 - 90 days old
91+ days old                                                                                        $144,556.21
Total Accounts Receivable                                                                           $144,556.21
Amount considered uncollectible (Bad Debt)                                                                     0
Accounts Receivable (Net)                                                                           $144,556.21

                                                   DEBTOR QUESTIONNAIRE

Must be completed each month                                                                           Yes           No
1. Have any assets been sold or transferred outside the normal course of business                                    X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                  X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation                  X
   below.
4. Are workers compensation, general liability and other necessary insurance                           X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                     X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                   FORM MOR-5
                                                                                                                        (04/07)
